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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION


United States of America

              vs                                          CR NO. 2:19-CR-00779-DCN

Todd Vannatta
                                               PLEA


       The defendant, Todd Vannatta, having withdrawn his plea of Not Guilty entered,

December 27, 2018 pleads guilty to Count(s) _ _       =.i____   of the Superseding

Indictment, after arraignment in open court.




                                                   (~endant

Charleston, South Carolina
November 1, 2019
